            Case 1:25-cv-10676-BEM                                                Document 90-3                               Filed 05/07/25                            Page 1 of 2


From:                 Adrian Rennix(DIL)
To:                   Allison Herre (SAT); Naveen Flores-Dixit (SAT); Asylum Defense Project; Anwen Hughes; Laura Flores Dixit; Elizabeth Almanza; Trina Realmuto; matt@nwirp.org
Subject:              Re: [EXTERNAL EMAIL] possible third-country removals to Saudi Arabia (and possibly Libya) tomorrow
Date:                 Wednesday, May 7, 2025 12:09:08 PM
Attachments:          image001.png
                      image002.png


Hello all – Allison went to Pearsall this morning to meet with the individuals flagged here but they have already been moved out of Pearsall. She
is still in the center now trying to warn some other folks there who might be at risk of future flights. I am going to send ICE an email regarding the
people you flagged with the PI and amendment now, but I don’t know if they will accept the communication from me without a G28. I don’t know
if it might carry more weight coming from the litigation team? Let me know if you have other ideas on how to proceed.

From: Allison Herre (SAT) <AHerre@trla.org>
Date: Wednesday, May 7, 2025 at 8:19 AM
To: Naveen Flores-Dixit (SAT) <NFloresDixit@trla.org>, Asylum Defense Project <ADP@trla.org>, Anwen Hughes
<hughesa@humanrightsfirst.org>, Laura Flores Dixit <laurafd@americangateways.org>, Elizabeth Almanza
<elizabetha@americangateways.org>, Trina Realmuto <trina@immigrationlitigation.org>, matt@nwirp.org <matt@nwirp.org>
Subject: Re: [EXTERNAL EMAIL] possible third-country removals to Saudi Arabia (and poss bly L bya) tomorrow

Good morning all,

Our friends at American Gateways shared the urgent request to meet with the Laotian man who may be sent to Libya or Saudi Arabia
imminently. I am leaving shortly to visit the detention center in Pearsall and can meet with Mr.      hopefully before he’s sent to intake
for transfer processing.

Beyond sharing the DVD materials, I cannot promise that our team would be able to do much more for Mr.                                                                       but I can share what
we learn from meeting with him if he consents. Are there any questions or other messages you have for Mr.                                                                    ?

Thanks!

In solidarity,

Allison

Allison E. Herre, Esq.*
Team Manager
Asylum Defense Project
Texas RioGrande Legal Aid
aherre@trla.org

To apply for ADP services or to refer a case for consideration, please email our team at ADP@trla.org.

​Confidentiality: The information in this correspondence constitutes client communication between an attorney and client and/or contains privileged
client information. It is intended only for the named recipient(s) and is protected by attorney/client privilege. If you think you have received this
communication in error, please notify the sender and permanently delete the communication from your files.

*Admitted to practice law in Ohio, practicing exclusively in the area of federal immigration law.




From: Naveen Flores-Dixit (SAT) <NFloresDixit@trla.org>
Date: Wednesday, May 7, 2025 at 7:03 AM
To: Asylum Defense Project <ADP@trla.org>
Subject: Fw: [EXTERNAL EMAIL] possible third-country removals to Saudi Arabia (and possibly Libya) tomorrow

American gateways can't help. Not sure if we can...

Get Outlook for iOS

From: Laura Flores Dixit <laurafd@americangateways.org>
Sent: Wednesday, May 7, 2025 6:56:51 AM
To: Naveen Flores-Dixit (SAT) <NFloresDixit@trla.org>
Subject: Fw: [EXTERNAL EMAIL] possible third-country removals to Saudi Arabia (and possibly Libya) tomorrow

Sending to you individually bc it bounced back from the group

Laura Flores-Dixit (she/hers/ella)
Managing Attorney*
American Gateways - Legal Advocacy for Immigrant Survivors
2300 W. Commerce St. | Suite 313 |San Antonio | TX | 78207 | P: 210.864.2918 | F: 210.625.6797
www.americangateways.org ∣ Facebook ∣ Twitter ∣ Instagram ∣ YouTube
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                                                                                                                                                                                    EXHIBIT C
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*Admitted to practice in California, practicing exclusively in the area of (federal) immigration law.

From: Anwen Hughes <HughesA@humanrightsfirst.org>
Sent: Tuesday, May 6, 2025 10:06:33 PM
To: laurafd@americangateways.org <laurafd@americangateways org>; elizabetha@americangateways.org <elizabetha@americangateways.org>
Cc: Trina Realmuto <trina@immigrationlitigation org>; Matt Adams <matt@nwirp org>
Subject: possible third-country removals to Saudi Arabia (and possibly Libya) tomorrow

Dear Laura and Elizabeth,

I am writing on behalf of the team litigating DVD v. DHS, the case challenging DHS’s removal of people to third countries without an opportunity
to raise fear claims, in which there is now a preliminary injunction (attached), to which the court recently made a slight modification at our
request to prevent DHS from ducking out from under his order by first shipping people to Guantanamo (modification to the PI is pasted in at the
end of this e-mail). There is a rumor that the U.S. is planning to send two military planes from Texas to Saudi Arabia tomorrow, and that a
Laotian man currently detained at Pearsall has been told that he is going to be on one of them. The New York Times is also reporting that the
U.S. is imminently planning to send a military flight to Libya for the same purpose, imminently meaning as early as tomorrow.

The identifying information we have on the Laotian man is as follows:




South Texas Detention

We are getting this thirdhand and have not spoken with this Laotian national, but are urgently concerned that his removal would be in violation of
the court order in DVD, and given Saudi Arabia’s human rights record in general, and its treatment of migrants specifically, we want to make
sure this man gets a consult and an opportunity to raise any CAT claim he may have.

Would it be possible for someone on your staff to talk with him and send ICE a copy of the P.I. and amendment to it? If you have any questions
about this or I can be helpful in any way I’ll be reachable most of the day tomorrow at (212) 845-5244, and all day by e-mail.

Thanks so much,

Anwen

Amendment to P.I.:

Judge Brian E. Murphy: ELECTRONIC ORDER - AMENDED PRELIMINARY INJUNCTION: In light of the issues raised during the April 28,
2025 hearing, this Court modifies a portion of its April 18, 2025 preliminary injunction 64 . This modification preserves the status quo as outlined
in this Court's preliminary injunction. See Sec. & Exch. Comm'n v. Xia, 2024 WL 3447849, at *6-7 (E.D.N.Y. July 9, 2024) (collecting cases
modifying preliminary injunctions pending appeal in order to preserve the status quo). Defendants have represented to this court that that
removals from Guantanamo Bay to third countries have been executed by the Department of Defense without the Department of Homeland
Security's direction or knowledge, see Dkt 72, and the Court makes no finding on the accuracy of this assignment of responsibility but, in an
abundance of caution, ORDERS that, prior to removing, or allowing or permitting another agency to remove, an alien from Guantanamo Bay to a
third country, Defendants must comport with the terms of the April 18, 2025 preliminary injunction by providing the due-process guarantees set
forth in Dkt. 64 at 46-47. At the April 28, 2025 hearing, the status of the Guantanamo Bay Detention Center was debated. The Court declines to
resolve if transportation to this base is a deportation to a third country despite the United States' exercise of jurisdiction and control over the
base. Given the position taken by the Government that the deportation from Guantanamo to third countries was not at the direction, behest or
control of the Department of Homeland Security, a debated issue to be resolved once preliminary discovery has been conducted, this Court
ORDERS that, after taking custody of an alien, Defendants may not cede custody or control in any manner that prevents an alien from receiving
the due-process guarantees outlined in the April 18, 2025 preliminary injunction.
(BIB) (Entered: 04/30/2025)

Anwen Hughes
Senior Director of Legal Strategy, Refugee Programs


                                              ​
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Admitted in NJ, practice in NY limited to immigration matters.
